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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


 FOUNDATION FOR LOUISIANA                             CIVIL ACTION

 VERSUS                                               No. 17-6499

 PONTCHARTRAIN PARK CDC                               SECTION: “J”(5)
 REAL ESTATE HOLDINGS, LLC,
 ET AL.


                                    ORDER

      Considering the Motion to Dismiss (Rec. Doc. 8) filed by Federal Deposition

Insurance Corporation as Receiver for Defendant First NBC Bank, New Orleans,

Louisiana;

      IT IS ORDERED that the Motion is GRANTED; Plaintiff has filed a response

acknowledging the Motion is unopposed. (Rec. Doc. 12). Accordingly, First NBC Bank

and its receiver, Federal Deposition Insurance Corporation shall be dismissed from

this action.

      New Orleans, Louisiana, this 28th day of February, 2019.




                                     CARL J. BARBIER
                                     UNITED STATES DISTRICT JUDGE
